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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

La Union Del Pueblo Entero, et al.,

vs.                                                 Case No.: 5:21-CV-00844-XR
Gregory W. Abbott, et al.


                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Daniela Lorenzo                                          , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent See attached                                      in this case, and

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               Elias Law Group LLP                                      with offices at:

               Mailing address: 10 G Street NE, Suite 600

               City, State, Zip Code: Washington, DC 20002

               Telephone: (202) 968-4490                    Facsimile: (202) 968-4498


       2.      Since    11/2020                               , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of New York                     .

               Applicant's bar license number is 5780457                                                .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                       Admission date:
               US District Court for SDNY                   3/22/2022

               US Court of Appeals for DC Circuit           10/6/2021
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4.    Applicant is presently a member in good standing of the bars of the courts listed above,

      except as provided below (list any court named in the preceding paragraph before which

      Applicant is no longer admitted to practice):

      None.




5.    I       have        have not previously applied to Appear Pro Hac Vice in this district

      court in Case[s]:

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

6.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any state or federal court, except as

      provided:
      None.




7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

      except as provided below (omit minor traffic offenses):

      None.




8.    Applicant has read and is familiar with the Local Rules of the Western District of Texas

      and will comply with the standards of practice set out therein.
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          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requested; or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                 Co-counsel: John Hardin

                 Mailing address: 500 N. Akard Street, Suite 3300

                 City, State, Zip Code: Dallas, TX 75201

                 Telephone: (214) 965-7743


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
Daniela Lorenzo                           to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted,

                                                        Daniela Lorenzo
                                                       [printed name of Applicant]


                                                       [signature of Applicant]


                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the 30 day of June                        , 2022 .

                                                        Daniela Lorenzo
                                                       [printed name of Applicant]


                                                       [signature of Applicant]
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Daniela Lorenzo, applicant herein, moves this Court to grant admission to the United States
District Court for the Western District of Texas pro hac vice to represent the following parties in
La Union Del Pueblo Entero, et al. v. Gregory W. Abbott, et al., 5:21-CV-00844-XR.

   •   LULAC Texas
   •   Voto Latino
   •   Texas Alliance for Retired Americans
   •   Texas AFT
